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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )
       V.                                            )       No. 4:17CR595 RLW
                                                     )
JEVANTAE PHILLIPS,                                   )
                                                     )
               Defendant.                            )

                                             ORDER

       IT IS HEREBY ORDERED that Plaintiff United States of America's Motion to

Authorize Payment from Inmate Trust Account (ECF No. 186) is GRANTED. The Bureau of

Prisons is authorized to turn over to the Clerk of the Court funds held in the inmate trust account

of Defendant Jevantae Phillips, Reg. No. 47229-044, as payment towards criminal monetary

penalties imposed in this case.

       Dated this 25th day of January, 2021.

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                                                     RONNIE L. WHITE
                                                     UNITED STATES DISTRICT JUDGE
